Case 1:05-cr-00102-IMK-JSK Document 106 Filed 10/23/07 Page 1 of 2 PageID #: 260



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 DELPHINE GREEN,

             Petitioner,

 v.                                        CIVIL ACTION NO. 1:07CV55
                                           CRIMINAL ACTION NO. 1:05CR102
                                                     (Judge Keeley)

 UNITED STATES OF AMERICA,

             Respondent.


                ORDER ADOPTING REPORT AND RECOMMENDATION

       On April 19, 2007, pro se petitioner Delphine Green filed a

 petition for writ of habeas corpus pursuant to 28 U.S.C. § 2255.

 On July 9, 2007, the petitioner filed an amended petition.                 On

 July 12, 2007, United States Magistrate Judge John S. Kaull entered

 a Report and Recommendation recommending that the Court deny

 petitioner’s § 2255 motion and dismiss the case with prejudice.

       The Report and Recommendation also specifically warned that

 Green’s failure to object to the recommendation would result in the

 waiver of her appellate rights on this issue.          Nevertheless, Green

 has not filed any objections.1

       Consequently, the Court ADOPTS the Report and Recommendation

 in its entirety, DENIES Green’s § 2255 motion (dkt. no. 96 in

 1:05cr102 and dkt. no. 1 in 1:07cv55), her amended motion (dkt. no.


       1
         Green’s failure to object to the Report and Recommendation not only
 waives her appellate rights in this matter, but also relieves the Court of any
 obligation to conduct a de novo review of the issue presented. See Thomas v.
 Arn, 474 U.S. 140, 148-153 (1985); Wells v. Shriners Hosp., 109 F.3d 198, 199-
 200 (4th Cir. 1997).
Case 1:05-cr-00102-IMK-JSK Document 106 Filed 10/23/07 Page 2 of 2 PageID #: 261



 GREEN V. USA                                                       1:07CV55
                                                                   1:05CR102

                ORDER ADOPTING REPORT AND RECOMMENDATION

 103 in 1:05cr102 and dkt. no. 7 in 1:07cv55 and DISMISSES the case

 WITH PREJUDICE. The Court orders the Clerk to STRIKE the case from

 the Court’s docket.

       It is so ORDERED.

       The Clerk is directed to mail a copy of this Order to the

 petitioner.

 Dated: October 22, 2007.



                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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